Case 1:17-cv-20920-RNS Document 27 Entered on FLSD Docket 12/12/2017 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:17-cv-20920-RNS


     MIKE'S WORRY FREE INC.,
     an Ohio Corporation; and
     MICHAEL HLATKY, individually,

             Plaintiffs,                             Mediator: Joel Levine, Esq.
                                                     Judge: Honorable Robert N. Scola, Jr.
     V.                                              Conference Date: December 12, 2017

     OLIVIA CHARLIE LLC,
     a Florida limited liability company,

             Defendant.
                                                 I



                             DISPOSITION OF MEDIATION CONFERENCE

          THIS CAUSE, having been submitted to Mediation before JOEL LEVINE, ESQ.,
     Mediator, the disposition of the mediation conference is as follows:

           SETTLED.




     For Plaintiff: David A. Freeburg, Esq., Tom J. Manos, Esq., Michael Hlattky

     For Defendant: Manny M. Tarich, Esq., Shane Neman

     Observer: Mark D. Greenberg




     Respectfully Submitted
                               6~9
     December 12, 2017            Joel Levine, Mediator
